Case 2:99-cr-20073-.]DB Document 249 Filed 08/01/05 Page 1 of 2 Page|D 179

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FOR THE WESTERN DiSTRiCT 0F TENNESSEE
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P|aintiff, *
CR. No. 99-20073-Bre
v. *
CLARA TORRES, *
Defendant. *
ORDER

 

Upon Niotion ofthe United States, and forgood cause Shown, the indictment pending

against C|ara Torres is hereby dismissed

e~é~y`v%

Enterec| 0n this / day of J-u+y, 2005.

 

H NORABLE J. DAN\EK BREEN
u STATES DiSTRiCT COuRTJuDGE

Approved: /Z,.h f

Tii'\/iOTi-iv R.ES€ENZA
Assistant United States Attorney

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UNITED `STATE DISTRIC COURT - WESTERN D'S'TRCT 0 TESSEE

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Honorable J. Breen
US DISTRICT COURT

